        Case 25-01182-VFP             Doc 2
                                     Filed 04/24/25 Entered 04/24/25 14:28:09                          Desc Main
                            UNITED STATES BANKRUPTCY
                                     Document      Page 1 of 1   COURT
                                        DISTRICT OF NEW JERSEY
In the matter of:
Bed Bath & Beyond Inc.
                                                    Debtor
Michael Goldberg


                                                    Plaintiff(s)
                                                                            Case No.        ______________________
                                                                                                  23-13359
v.
U.S. Customs and Border Protection
                                                                            Adversary No.   ______________________
                                                                                                   25-1182


                                                    Defendant(s)            Judge:             Vincent F. Papalia
                                                                                            ______________________


                         SUMMONS AND NOTICE OF PRETRIAL CONFERENCE
                                IN AN ADVERSARY PROCEEDING
YOU ARE SUMMONED and required to submit a motion or answer to the complaint which is attached to this
summons to the clerk of the bankruptcy court within 30 days after the date of issuance of this summons, except
that the United States and its offices and agencies shall file a motion or answer to the complaint within 35 days.
                                  United States Bankruptcy Court
             Address of Clerk     50 Walnut Street, 3rd Floor
                                  Newark, New Jersey 07102


At the same time, you must also serve a copy of the motion or answer upon the plaintiff's attorney.

             Name and Address of
             Plaintiff’s Attorney
                                  Colin R. Robinson
                                  Pachulski Stang Ziehl & Jones LLP
                                  919 North Market Street, 17th Floor
If you make a motion, your time to answer is governed by Fed.R.Bankr.P. 7012.
                                  Wilmington, DE 19899-8705
YOU ARE NOTIFIED that a pretrial(302)
                                   conference
                                        778-6426of the proceeding commenced by the filing of the complaint will be
held at the following time and place.

             Address     United States Bankruptcy Court            Courtroom:   3B
                         50 Walnut Street, 3rd Floor
                         Newark, New Jersey 07102
                                                                   Date and Time:

                                                                           June 26, 2025 at 10:00 AM


IF YOU FAIL TO RESPOND TO THIS SUMMONS, YOUR FAILURE WILL BE DEEMED TO BE YOUR CONSENT
   TO ENTRY OF A JUDGMENT BY THE BANKRUPTCY COURT AND JUDGMENT BY DEFAULT MAY BE
              TAKEN AGAINST YOU FOR THE RELIEF DEMANDED IN THE COMPLAINT.

                                                                     Jeanne A. Naughton, Clerk

Date: ___________________________________
      4/24/2025                                                      By: ______________________________________
                                                                         /s/ Michele Cummings
                                                                         Deputy Clerk

                                                                                                            rev.1/4/17

Pursuant to D.N.J. LBR 9019-2, Mediation: Procedures, there is a presumption of mediation in all adversary
proceedings. For more information regarding the mediation program, see the related Local Rules and forms
on the Court’s web site njb.uscourts.gov/mediation.
